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                                   STATEMENT OF FACTS

        I, Joseph Henry, am a Task Force Officer with the Federal Bureau of Investigation. I have
been in this position since 2020. Additionally, I am a detective with the Bloomington, Indiana
Police Department and have been with the agency since 2004. Currently, I am a tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Task
Force Officer, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        According to several tips received by the Federal Bureau of Investigation, Antony Vo
posted several images and videos to his Facebook and Instagram accounts which depicted his
presence in Washington, D.C., and inside the Capitol building, on January 6, 2021. FBI agents
interviewed several of the people who had provided tips, and the contents of those interviews are
summarized below.

         Witness 1 knew of Vo through their significant other, who had gone to college with Vo at
Indiana University and was in the same fraternity as Vo. Witness 1 provided the FBI with the
screenshot below, which they believed was posted on Vo’s Facebook page and which was
circulated among fellow fraternity members and alumni of Indiana University. The image depicted
a male, who Witness 1 identified as Antony Vo, with a female who Witness 1 believed to be Vo’s
mother. Witness 1 learned from their significant other that Vo had attended the “Stop the Steal”
rally in Washington, D.C. on January 6, 2021, which preceded the riot at the Capitol.




       Witness 2 attended high school with Antony Vo and, since high school, has followed Vo
on Facebook and Instagram. Witness 2 identified Antony Vo’s Instagram account as “vodevivre,”
and provided screen captures which had been taken from Vo’s Instagram story. These images,
which are reproduced below, showed a montage of video and images, including the exterior of the
Pentagon, video of the Washington monument with crowds gathered, and the exterior of the
Capitol building with crowds gathered. Vo’s Instagram username is visible in these images.
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       Both Witness 1 and Witness 2 were familiar with Vo and were confident of his identity.
Witness 1 and Witness 2 shared that they knew Vo to engage with conspiracy theories. Witness 1
noted that Vo was an avid supporter of former President Trump, and Witness 2 knew Vo to
subscribe to libertarian ideologies.

       Based on my knowledge of the events at the Capitol building and grounds on January 6,
2021, the Facebook photo above (shared by Witness 1) shows Vo inside the Capitol after it was
breached by rioters. The Facebook photo shows Vo inside the Capitol rotunda, with a woman
believed to be his mother, who was also present in the Instagram photos. Throughout the
background, other people are present in the rotunda, and the crowds appear consistent with other
video and images of the riot that I have observed. The Instagram photos and videos appear to show
crowds of people traveling from the National Mall to the Capitol building. Again, this is consistent
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with other video and images of the riot that I observed. Additionally, Witness 1 and Witness 2
reported that these images were posted a short time after the events of January 6, 2021.

        Through my own investigation, I have confirmed that Antony Vo has a Facebook account
with the username of “antony.d.vo” and an Instagram account with the username “vodevivre”.
During the course of the investigation, law enforcement obtained a search warrant related to the
Instagram and Facebook accounts described herein. Records obtained from Facebook, Inc.
revealed that Vo had multiple conversations, using his Facebook and Instagram accounts, in which
he acknowledged being present in the Capitol building on January 6, 2021. To prove his presence
to these other people, Vo sent images of himself and his mother in and near the Capitol building,
including what appears to be the same photograph provided by Witness 1.

       Using these accounts, Vo discussed his reasons for entering the Capitol building. In one
conversation, Vo acknowledged that “My mom and I helped stop the vote count for a bit.” In
another conversation, he wrote “President [Trump] asked me to be here tomorrow so I am with my
mom LOL.” In other conversations, Vo claimed that the results of the 2020 Presidential election
were fraudulent.

        Vo also discussed how he and other rioters were able to gain access to the Capitol building.
In one conversation, Vo claimed that police allowed him and other rioters to enter the Capitol
building. A friend asked Vo, “Are you in jail?” Vo replied, “Lol no. They let us [in],” and Vo
shared a Twitter post titled “the police opened the f***ing gates.” Vo’s friend replied “Holy s***
dude save this tweet” and “Thank you for giving me peace of mind.” But elsewhere, Vo
participated in the following exchange:

        Vo: they [the police] pretty much opened up for us
        Vo’s friend: The police opened the gate?! I didn’t hear that anywhere!
        Vo: yeah they stood down and retreated after we clearly outnumbered them

       And, in two different exchanges on Instagram, Vo admitted that he and his mother
“stormed” the Capitol.

        Both the Facebook and Instagram records revealed an associated phone number ending in
-4677. 1 Through my investigation, I have identified this number as belonging to Antony Vo. An
open-source database inquiry had indicated that the number was associated with Antony Vo.
Additionally, a Facebook Messenger conversation occurred on May 6, 2021 where Antony Vo
provided the same number to an associate with the acknowledgment that that number belonged to
him.

        According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone associated with the phone
number ending in -4677 was identified as having utilized a cell site consistent with providing
service to a geographical area that included the interior of the Unites States Capitol Building. The


1
  The full phone number is known to law enforcement, however, only the last four digits are referenced herein due to
the public nature of the filing.
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records indicate the first presence of the phone on January 6, 2021 at 2:38pm and the final presence
of the phone at 3:05pm.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Antony Vo violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempt or conspire to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Antony Vo violated
40 U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in
the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                                      _________________________________
                                                      Joseph Henry
                                                      Task Force Officer
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of July, 2021.                                    2021.07.20
                                                                             16:00:18 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
